
ORDER
| iConsidering the record of this matter, the findings and recommendation of the hearing committee, and the response thereto filed by respondent,
IT IS ORDERED that respondent’s conditional admission to the practice of law in the State of Louisiana be revoked, effective immediately. Respondent may not submit an application for readmission until he can demonstrate compliance with the recommendations made by Bradford Health Services in its August 15, 2011 report, and in no event less than thirty months from the date of this order. In the event respondent chooses to submit an application for readmission, it shall be filed with the Disciplinary Board, which shall appoint a hearing committee to take evidence and report to this court whether respondent should be readmitted to the *211bar and allowed to practice law in Louisiana. The Office of Disciplinary Counsel shall participate in the hearing and provide such information, evidence, and recommendations to the hearing committee as may be appropriate.
GUIDRY, J., dissents and assigns reasons.
FOR THE COURT:
/s/ Jeannette Theriot Knoll /s/ Justice, Supreme Court of Louisiana
